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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

                                   :
TAMBI TAYLOR,                      :    CIVIL ACTION NO. 10-1476 (MLC)
                                   :
     Plaintiff,                    :                O R D E R
                                   :
     v.                            :
                                   :
GLOBAL CREDIT & COLLECTION         :
CORPORATION,                       :
                                   :
     Defendant.                    :
                                   :


     For the reasons stated in the Court’s Memorandum Opinion,

dated June 11, 2010, IT IS on this           11th     day of June, 2010,

ORDERED that defendant’s motion to transfer venue (dkt. entry no.

7) is GRANTED; and

     IT IS FURTHER ORDERED that this action is TRANSFERRED to the

United States District Court for the District of Maryland; and

     IT IS FURTHER ORDERED that the Clerk of this Court designate

this action as CLOSED.



                                            s/ Mary L. Cooper
                                        MARY L. COOPER
                                        United States District Judge
